Case:18-17812-MER Doc#:2 Filed:09/05/18 Entered:09/06/18 07:25:07 Pagel of 5

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United States Bankruptcy Court for the:
DISTRICT OF COLORADO

 

 

Case number fi frown}

‘

 

 

 

 

Chapter 7

  

Check if this an
J O amended filing
Official Form 205

involuntary Petition Against a Non-Individual

 

42/16
Use this fornn to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary caso. if you want to begin a case
agalnst a non-individual, use the Involuntary Petition Against an individual (Official Form 105}. Be as complete and accurate as possible. If more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if known).

(ERED identify the Chapter of the Bankruptey Code Under Which Petition Is Filed
1. Chapter of the Bankruptcy

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check one:
Code
PS Chapter 7 2
. Chapter 14 ee
BE Identity the Debtor of = 2
2. Debtor's name REVOLAR TECHNOLOGY, INC. me to
2S
oa
3. Other names you oa >
know the debtor mo, an
has used In the last On =
8 years 5 te U oS
a0? *
inchide any BO w 7
assumed names, eo tw
irade names, oF “of 8
doing business as
names,
4. Debtor's federal Employer Unknown
identification Number (EiN} be
EIN
5. Debtor's address
201 Milwaukee Street, Suite 200
Number Streat Number Street
P.O. Box
Denver co. _ 80206
City State Zip Code City State Zip Code
Location of principal assets, if different from principa!
Denver place of business
County
Number Street
City Stale’ Zip Code
6. Debtor's website (URL) hitps:/frevolar.com
7. Type ofdebtor — §J corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
Partnership (excluding LLP}
Other type of debtor. Specify:

 

8. Type of debtor's
business

Official Form 205

Check one:

 

Involuntary Petition Against a Non-tndividual
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page f

 
Case:18-17812-MER Doc#:2 Filed:09/05/18 Entered:09/06/18 07:25:07 Page2 of 5

Debtor _REVOLAR TECHNOLOGY, INC. Case number known}

 

Heaith Care Business {as defined In 41 U.S.C. § 101(27A)
CI Single Asset Real Estate (as defined in 11 U.S.C. § 101(518)
cI Railroad (as defined in 14 U.S.C. § 101(44)

[_] Stockbroker (as defined In 14 U.S.C. § 101(53A}
Commodity Broker (as defined in 11 U.S.C. § 104(6)
Clearing Bank fas defined in 14 U.S.C. § 7841(3}

x None of the types of business listed.

Unknown type of business.

 

9. To the best of No

 

 

 

your knowledge ‘ Relationsht
are any . Yes. Deblor ip
Aorgine E onus District Date filed Case number, if known
against any MM /DODIYVYYY
partner or affiliate
of this debtor?
Debiaer Relailonship
District Date filed Case number, if known
MM/DDIYYYY

 

"GERER Report About the Case
10, Venue Check one:

Over the fast 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of business, or principal assets
in this district tonger than in any other district.
CT A bankruptcy case conceming debter's affiliates, general partner, or partnership Is pending In this district.

 

17. Allegations ’ Each petitioner is eligible to file this patition under 11 U.S.C. § 303(b).
The debtor may be the subject of an Involuntary case under 14 U.S.C. § 303{a).

At least one box must ba checked:

J The debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispule as to liabltity
or amount. .

O Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or aulhorized to take
charge of less than substantially alt of the property of the debtor for the purpose of enforcing a iien against such property, was
appointed or took possession.

 

12, Has there been a No
transfer of any
claim agatnat the J Yes. Attach all documents that evidence the iransfer and any statements required under Bankruptcy Rule 1003(a}.
debtor by or to
any petitioner?

 

43. Each petitloner’s claim iN

 

Nicole Bagley Principal due and owing on account of $ 575,000.00
November 15, 2017 loan

(plus interest,
attorneys’ fees, and
costs collectible
under the loan)

Praful Shah Principal due and owing on account of $ 25,000.00
Novernber #5, 2017 loan
(plus interest,
attorneys’ fees, and
costs collectible

 

Official Form 208 Involuntary Petition Agalnst a Non-Individual page 2
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4842-001 1-2497. j

 
Case:18-17812-MER Doc#:2 Filed:09/05/18 Entered:09/06/18 07:25:07 Page3 of 5

Debtor REVOLAR TECHNOLOGY, INC. Case number gf kaewn)

 

Julianna Evans Caplan Unpaid invoice for PR services $ 5,000.00

(plus any collectible

interest, attorneys’

fees, and costs}
Totai of petitioners’ claims | $ 605,000.00

 

(plus collectible
interest, attorneys’
fees, and costs)

 

 

 

if more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's
name and the case number, if known, at top of each sheet. Following the format of this form,
set out the information required in Parts 3 and 4 of the form for each statement under penalty
of perjury set out in Part 4 of the form, followed by each addittonal petitioner's (or
representative's) signature, along with the signature of the petitioner's attorney.

 

a Request for Relief

WARNING -- Bankruptcy fraud is a serious crime. Making a false staternent in connection with a bankruptcy case can resuit in fines up fo $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. 8§ 152, 1347, 1519, and 3571.

Patitioners request that an order for relief be entered against the debtor under the chapier of 11 U.S.C. specified in this petition. if a petitioning creditor is a
corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign
proceeding, attach a certified copy of the order of the court granting recognition.

| have examined the information in this document and have a reasonable belief that the information is true and correct.

 

Name and mailing address of petitioner

John H. Bernstein

 

 

 

 

 

 

 

 

 

Nicole Bagley Adam L. Hirsch
Name Printed name
736 3. Fillmore Street KUTAK ROCK LLP
Number Street : Firm name, if any
Denver co 80209 1801 California Street, Suite 3000
City State Zip Code Number = Street
: Denver co 80202
Name and mailing address of petitioner's representative, if any 2 City State Zip Code
Contact 303-297- Email john.bernstein@kutakrock.com
phone = 2400 adam. hirsch@kutakrock.com
Name

Barnumber John H. Bernstein, #17358
Adam L. Hirsch, #44306

 

 

 

  
    

 

 

 

 

 

 

State Colorado
Number Street ~
City State Zip Code me
I declare under henaity gf perjury jhat the foregoing is tue and correct. ye ee oN
Executed on f 2o fo ge
Signature of attorney ON
Date Gla fage%
sf —_ signed = “MM/DD/ YYYY
Signature of petitidper or representative, including representative's title
Official Form 205 involuntary Petition Against a Non-lndividual page 3

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Case:18-17812-MER Doc#:2 Filed:09/05/18 Entered:09/06/18 07:25:07 Page4 of 5

Debtor _REVOLAR TECHNOLOGY, ING.

Case number gt tnown}

 

 

Name and malling address of petitioner

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Praful Shah
Name — Printed name
903 Norlhem Way
Number Street Firm name, if any
Superior co 80027
City State Zip Code Number Street
co
Name and mailing address of petitioner's representative, If any Clty State Zip Codé
Contact phone Email
Name
Bar number
State
Number Street
City State Zip Code
1 declare under penalty of perjury dhat the foregoing is ine and correct.
Executed on OS- 20-2515
MM /DDIYYYY Signature of atlamey
Date signed
. MM/DDFYYYY
Signature of petitioner or representative, including representative's title
Official Form 205 involuntary Petillon Against a Non-Individual page §

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,  Case:18-17812-MER Doc#:2 Filed:09/05/18 Entered:09/06/18 07:25:07 Page5 of 5

Debtor _REVOLAR TECHNOLOGY, INC.

Case number gf inown}

 

 

Name and mailing address of petitioner
Julianna Evans Caplan

 

 

 

 

 

 

 

 

 

 

 

    
   

 

 

 

 

 

Name Printed name
1563 44* NW
Number Street Firm name, if any
Washington DC 20007
Cily State Zip Code Number Street
co
Name and mailing address of petitioner's representative, Hf any City State Zip Code
Contact phone Email
Name
Bar number
State
Number Street °
City State Zip Code
i deciave under penalty of perjury that the foregoing is tue and correct.
Executed on Gy { y
MM /fDDIV¥Y¥Y Signature of attomey
~ Date signed
MM /DDIYYYY
ner or representative, inctiding representative's title
Official Form 205 Involuntary Petition Against a Non-Individuat page 6

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